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 AO 98 (Rev. 12/11) Appearance Bond



                                      UNITED STATES DISTRICT COURT
                                                           for the
                                               Eastern District of Michigan
                United States of America                  )
                           v.                             )
                                                          )      Case No.    15-20009
              DARRELL N. EVANS, JR.                       )
                                              Defendant   )

                                               APPEARANCE BOND

                                                 Defendant’s Agreement
    DARRELL N. EVANS, JR.
I, ___________________________________________              (defendant), agree to follow every order of this court, or any
court that considers this case, and I further agree that this bond may be forfeited if I fail:
        ✔ to appear for court proceedings;
        ✔ if convicted, to surrender to serve a sentence that the court may impose; or
        ✔ to comply with all conditions set forth in the Order Setting Conditions of Release.

                                                      Type of Bond

    (1) This is a personal recognizance bond.
✔                                       10,000.00
    (2) This is an unsecured bond of $ ___________________________________________.
    (3) This is a secured bond of $ ___________________________________________, secured by:
           $ ___________________________________________ in cash deposited with the court.
           (b) the agreement of the defendant and each surety to forfeit the following cash or other property
                (describe the cash or other property, including claims on it – such as a lien, mortgage, or loan –
                and attach proof of ownership and value):



         If this bond is secured by real property, documents to protect the secured interest may be filed of record.

              (c) a bail bond with a solvent surety (attach a copy of the bail bond, or describe it and identify the
                  surety):




                                           Forfeiture or Release of the Bond

Forfeiture of the Bond. This appearance bond may be forfeited if the defendant does not comply with the above
agreement. The court may immediately order the amount of the bond surrendered to the United States, including the
security for the bond, if the defendant does not comply with the agreement. At the request of the United States, the
court may order a judgment of forfeiture against the defendant and each surety for the entire amount of the bond,
including interest and costs.
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Release of the Bond. The court may order this appearance bond ended at any time. This bond will be satisfied and
the security will be released when either: (1) the defendant is found not guilty on all charges, or (2) the defendant
reports to serve a sentence.

                                                     Declarations

Ownership of the Property. I, the defendant – and each surety – declare under penalty of perjury that:

    (1) all owners of the property securing this appearance bond are included on the bond;
    (2) the property is not subject to claims, except as described above; and
    (3) I will not sell the property, allow further claims to be made against it, or do anything to reduce its value while
        this appearance bond is in effect.

Acceptance. I, the defendant – and each surety – have read this appearance bond and have either read all the conditions
of release set by the court or had them explained to me. I agree to this Appearance Bond.

I, the defendant – and each surety – declare under penalty of perjury that this information is true. (See 28 U.S.C.
§ 1746.)



      November 1, 2019
Date: ____________________                                     __________________________________________
                                                                                  Defendant's signature

__________________________________________                     __________________________________________
              Surety/property owner – printed name                      Surety/property owner – signature and date

__________________________________________                     __________________________________________
              Surety/property owner – printed name                      Surety/property owner – signature and date

__________________________________________                     __________________________________________
              Surety/property owner – printed name                      Surety/property owner – signature and date



                                                               DAVID J. WEAVER, CLERK OF COURT


      November 1, 2019
Date: ____________________                                     s/LEANNE HOSKING
                                                               __________________________________________
                                                                          Signature of Clerk or Deputy Clerk

Approved.

      November 1, 2019
Date: ____________________                                     s/Mona K. Majzoub
                                                               __________________________________________
                                                                                  Judge’s signature
